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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 CG3 MEDIA, LLC and COREY
 GRIFFIN,

      Plaintiffs,

      v.                                                Civil Action No. 1:21-cv-04607-MKV

 BELLEAU TECHNOLOGIES, LLC,

      Defendant.


                      DECLARATION OF FRANCES H. STEPHENSON

       I, Frances H. Stephenson, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746

that the following is true and correct:

       1.       I am over twenty-one years of age and have personal knowledge of the following

facts or access to information and/or records allowing me to confirm these facts.

       2.       I am a member of the law firm Keyhani LLC and represent Plaintiffs CG3 Media,

LLC and Corey Griffin.

       3.       I submit this declaration in support of Plaintiffs’ Response to Belleau’s Motion for

a Preliminary Injunction.

       4.       Attached hereto as Plaintiffs’ Exhibit A is a true and correct copy of excerpts of the

deposition transcript of Jeremy Sadkin, taken on June 21, 2022.

       5.       Attached hereto as Plaintiffs’ Exhibit B is a true and correct copy of excerpts of the

deposition transcript of Corey Griffin, taken on August 4, 2022.
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        6.       Attached hereto as Plaintiffs’ Exhibit C is a true and correct copy of an email chain

between Plaintiffs’ counsel and Defendant’s counsel from September 20, 2021, to October 14,

2021.

        7.       Attached hereto as Plaintiffs’ Exhibit D is a true and correct copy of an email chain

between Plaintiffs’ counsel and Defendant’s counsel from February 12, 2022, to March 4, 2022.

        8.       Attached hereto as Plaintiffs’ Exhibit E is a true and correct copy of an email from

Plaintiff’s counsel to Belleau’s counsel dated February 28, 2022.

        9.       Attached hereto as Plaintiffs’ Exhibit F is an invalidity claim chart containing true

and correct excerpts from U.S. Patent Nos. 6,212,498 and 7,266,500.

        10.      Attached hereto as Plaintiffs’ Exhibit G is a true and correct copy of U.S. Patent

No. 6,212,498.

        11.      Attached hereto as Plaintiffs’ Exhibit H is a true and correct copy of U.S. Patent

No. 7,266,500.

        12.      Attached hereto as Plaintiffs’ Exhibit I is a true and correct copy of CG3 Media

financial information.

Executed on: December 6, 2022                  /s/ Frances H. Stephenson




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